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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

   AKARI JOHNSON and
   HAZEL THOMPSON,

                    Plaintiffs,                                  CASE NO.: 4:24-cv-10017-JEM

   v.

   MMI 82, LLC and
   THE ENTHUSIAST LLC,

                    Defendants.
   _________________________________/

        [PROPOSED] ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR
          EXTENSION OF TIME TO FILE A REPLY TO DEFENDANTS’ RESPONSE

          THIS CAUSE comes before the Court upon Plaintiffs’ Unopposed Motion for an Extension

   of Time to File a Reply to Defendants’ Response [ECF No. 53]. The Court, having considered the

   Motion and pertinent portions of the record and being otherwise fully advised, it is hereby

   ORDERED AND ADJUDGED that

          1.        The Motion is GRANTED.

          2.        Plaintiffs shall file their reply to Defendant’s Response [ECF No. 51] on or before

   July 11, 2025.

          DONE AND ORDERED in Chambers in Miami, Florida, this _____ day of

   ______________, 2025.

                                                         ___________________________________
                                                         JOSE E. MARTINEZ
                                                         UNITED STATES DISTRICT JUDGE

   Copies furnished to:
   All Counsel of Record
